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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
              Plaintiff,                       )
                                               )
       vs.
                                               ~ CRIMINAL NO. I 8.'-t 00 l(-3 Jtl 6-
                                               ) Title 18, United States Code,
                                               ) Sections 157 and 152(3)
KURT F. JOHNSON.                               )

              Defendant.                       ~                                 FilED
                                       INDICTMENT                                JUL 1 1 2018
                                                                          CLERK, U.S. DISTRICT COURT
THE GRAND JURY CHARGES:                                                 SOUTHERN DISTRICT OF ILLINOIS
                                                                               BENTON OFFICE

       1.     KURT F. JOHNSON has resided in the Communications Management Unit

"CMU' located in the U.S. Penitentiary in Marion, Illinois ("Marion"), within the Southern

District of Illinois, since on or about August 29th, 2014.

       2.     WT is employed by the Federal Bureau of Prisons as the Warden of Marion.

KH is employed by the Federal Bureau of Prisons as the Intelligence Research Specialist for

the CMU at Marion. In connection with professional duties at Marion, each person has

interacted with KURT F. JOHNSON.

                      The Scheme to Defraud and False Certification

       3.     KURT F. JOHNSON devised a scheme to defraud WT and KH by using legal

process in the bankruptcy court. On or about January 8, 2018, KURT F. JOHNSON caused

involuntary bankruptcy petitions to be filed against WT and KH. Involuntary bankruptcy

proceedings are a costly use of time and resources. Further, WT and KH could have had their

consumer credit negatively impacted.

       4.     These involuntary bankruptcy petitions contained false, imaginary, farfetched
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claims that WT and KH were each indebted to KURT F. JOHNSON in the amount of

$20,000,000,000.00 pursuant to a judgment he claimed to have obtained against them in 2016

from the International Court of Justice. In and in relation to these involuntary bankruptcy

petitions, KURT F. JOHNSON, acting through another person, knowingly and fraudulently

made a false declaration, certificate, verification and statement under penalty of perjury as

permitted under section 1746 of Title 28.

        5.     KURT F. JOHNSON offered no evidence whatsoever to demonstrate the

existence of a debtor/creditor relationship between WT or KH and himself.         KURT F.

JOHNSON was unable to produce any proof that there was such a judgment from what he

also referred to as the "World Court." In fact, there is no evidence of any such judgment

because there is no such judgment. Petitioner KURT F. JOHNSON filed and certified these

fraudulent petitions as part of his scheme to defraud WT and KH.

        6.    The United States Bankruptcy Court for the Southern District of Illinois

dismissed these KURT F. JOHNSON petitions on February 21, 2018.


                                        COUNT!
                                   Bankruptcy Fraud

        7.    Paragraphs 1-6 of this Indictment are hereby incorporated by reference as

though fully set forth herein.

        8.    On or about the eighth day of January, 2018, in the Southern District of

Illinois,

                                    KURT F. JOHNSON,

defendant, with the intent to devise a scheme and artifice to defraud WT, through the filing

of burdensome involuntary bankruptcy proceedings, and for the purpose of executing said

scheme and artifice and attempting to do so, filed a fraudulent involuntary bankruptcy


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petition under Title 11, United States Code, section 303; all in violation of Title 18, United

States Code, Section 157.

                                       COUNT2
                                    Bankruptcy Fraud

        9.    Paragraphs 1-6 of this Indictment are hereby incorporated by reference as

though fully set forth herein.

        10.   On or about the eighth day of January, 2018, in the Southern District of

Illinois,

                                     KURT F. JOHNSON,

defendant, with the intent to devise a scheme and artifice to defraud KH, through the filing

of burdensome involuntary bankruptcy proceedings, and for the purpose of executing said

scheme and artifice and attempting to do so, filed a fraudulent involuntary bankruptcy

petition under Title 11, United States Code, section 303; all in violation of Title 18, United

States Code, Section 157.


                                         COUNTS
                            False Declaration in Bankruptcy

        11.   Paragraphs 1 - 6 of this Indictment are hereby incorporated by reference as

though fully set forth herein.

        12.   On or about the eighth day of January, 2018, -in the Southern District of

Illinois,

                                     KURT F. JOHNSON,

defendant, in and in relation to case number 18-40014 in the United States Bankruptcy Court

for the Southern District of Illinois, did knowingly and fraudulently make a false declaration,

certificate, verification and statement under penalty of perjury as permitted under section



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1746 of title 28, that being, the false claim that WT was indebted to defendant; all in violation

of Title 18, United States Code, Section 152(3).


                                       COUNT4
                            False Declaration in Bankruptcy

        13.   Paragraphs 1 - 6 of this Indictment are hereby incorporated by reference as

though fully set forth herein. .

        14.   On or about the eighth day of January, 2018, in the Southern District of

Illinois,

                                      KURT F. JOHNSON,

defendant, in and in relation to case number 18-40015 in the United States Bankruptcy Court

for the Southern District of Illinois, did knowingly and fraudulently make a false declaration,

certificate, verification and statement under penalty of perjury as permitted under section

1746 of title 28, that being, the false claim that KH was indebted to defendant; all in violation

of Title 18, United States Code, Section 152(3).


                                                    A TRUE BILL



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United States Attorney

Recommended Bond: $10,000 unsecured


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